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                                                                                             REVIEW FROM ASN EB 2015 SYMPOSIUM




Early Child Development and Nutrition: A Review
of the Beneﬁts and Challenges of
Implementing Integrated Interventions1–4
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    ABSTRACT

Poor nutrition (substandard diet quantity and/or quality resulting in under- or overnutrition) and the lack of early learning opportunities contribute to the loss
of developmental potential and life-long health and economic disparities among millions of children aged <5 y. Single-sector interventions representing either
early child development (ECD) or nutrition have been linked to positive child development and/or nutritional status, and recommendations currently advocate
for the development and testing of integrated interventions. We reviewed the theoretical and practical benefits and challenges of implementing integrated
nutrition and ECD interventions along with the evidence for best practice and benefit-cost and concluded that the strong theoretical rationale for integration is
more nuanced than the questions that the published empirical evidence have addressed. For example, further research is needed to 1) answer questions
related to how integrated messaging influences caregiver characteristics such as well-being, knowledge, and behavior and how these influence early child
nutrition and development outcomes; 2) understand population and nutritional contexts in which integrated interventions are beneficial; and 3) explore how
varying implementation processes influence the efficacy, uptake, and cost-benefit of integrated nutrition and ECD interventions. Adv Nutr 2016;7:357–63.


Keywords:        early child development, child nutrition, integrated interventions, care, behavior change



Introduction                                                                                 (3). ECD typically refers to early childhood with a strong focus
Poor nutrition (substandard diet quantity and/or quality re-                                 on the first 2–3 y of life and describes the gradual unfolding of
sulting in under- or overnutrition) and lack of early learning                               children’s sensory-motor, cognitive-language, and social-emo-
opportunities contribute to the loss of developmental and ac-                                tional capacities shaped by interactions between the environ-
ademic potential and lead to lifelong health and economic dis-                               ment, experience, and genetics (4).
parities in more than 200 million children aged <5 y (1, 2).                                     The 2007 Lancet series on child development in developing
Moreover, the early provision of optimal nutrition and oppor-                                countries reported that programs with multiple components,
tunities for learning (supported by responsive caregiving be-                                including health, nutrition, and psychosocial stimulation,
haviors that are prompt, contingent on children’s actions,                                   might be most successful in promoting children’s early devel-
and developmentally appropriate and stimulating) have been                                   opment (5). Thus, recommendations currently advocate for
linked to positive early child development (ECD)8 outcomes                                   the development and testing of integrated nutrition and
                                                                                             ECD interventions (3, 5). The scientific basis and theoretical
1
  This article is a review from the symposium “Integrated Nutrition and Early Child          framework for integrating nutrition and ECD interventions
  Development Interventions: Preventing Health and Economic Disparities” held 30 March       is discussed in the corresponding review (6), and over the
  2015 at the ASN Scientific Sessions and Annual Meeting at Experimental Biology 2015 in
  Boston, MA. The symposium was sponsored by the American Society for Nutrition (ASN)
                                                                                             last decade, a substantial number of studies have been under-
  and the ASN Global Nutrition Council and supported by the Mathile Institute for the        taken to evaluate the effect of integrated interventions on chil-
  Advancement of Human Nutrition and the Mead Johnson Pediatric Nutrition Institute.         dren’s nutrition and development outcomes (7).
2
  The organizer has indicated that related reviews of this symposium will be submitted for
  publication in an upcoming issue of Advances of Nutrition.                                     In this review, we summarize the current state of knowl-
3
  The authors reported no funding received for this study.                                   edge related to the effectiveness of integrated nutrition and
4
  Author disclosures: KM Hurley, AK Yousafzai, and F Lopez-Boo, no conflicts of interest.    ECD interventions, the theoretical and practical beneﬁts
8
  Abbreviations used: BC, benefit-cost; ECD, early child development; SBCC, social and
  behavior change communication.                                                             and challenges of their implementation, and the emerging ev-
*To whom correspondence should be sent. E-mail: khurley2@jhu.edu.                            idence for best practices and the cost-beneﬁts. We conclude

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by identifying the current research gaps that need to be ad-        in providing adequate access to affordable services. With re-
dressed to further evidence-based policy and practice for in-       spect to tackling demand-side challenges, families may ﬁnd it
tegrated nutrition and ECD programs.                                easier to support the holistic care needs of their young children
                                                                    through a “one-stop-shop” type of service in which information
Current Status of Knowledge                                         that stems from different interventions is integrated and a rela-
Effectiveness of Integrated Early Child Development                 tionship with a health worker who understands the total needs
and Nutrition Interventions                                         of the child and family is established (11).
In the last 2 years, systematic reviews and meta-analyses have          In addition to program-level advantages, integrated nu-
examined the effectiveness of ECD and nutrition interventions       trition and ECD interventions support caregiving. Few early
separately (8) and integrated (7) on early child development        childhood interventions that occur within the ﬁrst 2–3 y of
outcomes. Aboud et al. (8) reviewed interventions conducted         life are child-directed alone but instead target the caregiver-
since 2000 and found that psychosocial-stimulation interven-        child dyad; for example, the success of an early development
tions (n = 21) had a medium-effect size of d = 0.43 on children’s   intervention depends upon equipping caregivers with the
cognitive development and that nutrition supplementation            know-how to provide consistent learning opportunities
and education interventions (n = 18), had a small-effect size       and responsive stimulation for their child within daily rou-
of d = 0.09. These findings suggest that integrated nutrition       tines (12). Similarly, the provision of optimal infant and
and early child development intervention may have additive          young children’s feeding practices depends upon the care-
or synergistic benefits for child development.                      giver’s knowledge and capacity to provide age-appropriate
   Grantham-McGregor et al. (7) examined the evidence for           feeding responsivity and nutritional sufficiency, quality,
additive or synergistic beneﬁts to integrated interventions         and diversity. The quality of care provided to young children
on child development and growth outcomes. They reported             by their caregivers, typically parents, is the most proximal
that few studies have been designed to address this question        factor that influences children’s survival, health, growth,
and that there was little evidence to support the notion of         and development. Early nutrition and development inter-
additive or synergistic beneﬁts to either growth or develop-        ventions depend on the knowledge, skills, and capacity—
ment outcomes as a result of integrated interventions. How-         both emotional and financial—of caregivers to provide their
ever, ECD interventions were consistently found to promote          young child with optimal care for development and nutrit-
children’s development, whereas nutrition interventions were        ion. A growing body of evidence from the disciplines of
found to benefit children’s growth outcomes and sometimes           both nutrition and ECD suggest that there are common
benefit children’s development (7).                                 skills for effective caregiving and by enhancing these com-
   Given that poor nutrition and inadequate opportunities           mon skills it is possible to benefit outcomes for both nutri-
for early learning are both risks for poor children’s develop-      tion and child development. First, responsive care, or the
ment (9, 10), nutritional and ECD inputs should be                  ability of the caregiver to contingently and appropriately re-
optimized—and possibly integrated—for best developmental            spond to their child’s cues, is a skill that needs to be sup-
outcomes. However, it is necessary to recognize that inte-          ported for both infant and young child feeding (13–16), as
grated interventions must be designed to not only affect a          well as supporting healthy social-emotional and cognitive-
single child outcome but also multiple outcomes, including          language development (17). Using the contexts of responsive
growth, health, and development. Thus, it is first necessary        feeding or play (e.g., responding appropriately to nonverbal
to review the rationale and feasibility of combining nutrition      and verbal cues of hunger, satiety, and feelings), are both ef-
and ECD interventions to elucidate platforms that might be          fective ways of supporting responsive caregiving (14, 18).
leveraged for optimizing integration.                                   Second, the low emotional availability of caregivers might
                                                                    challenge the provision of optimal care for nutrition and de-
The Beneﬁts and Challenges of Implementing                          velopment for young children. The prevalence of maternal
Integrated Child Nutrition and Development                          depression is high in low-income (15.9% for pregnant
Interventions                                                       women and 19.8% for postpartum women) and high-in-
From a program (or health service and systems) perspective,         come countries (~10.0% for pregnant women and 13.0%
the delivery of integrated nutrition and ECD interventions          for postpartum women) (19) and can compromise the emo-
might well be more efﬁcient than the delivery of separate in-       tional availability of caregivers to recognize and appropri-
terventions. Two primary advantages described by DiGiro-            ately respond to cues from infants and young children.
lamo et al. (11) were increased access to early learning            For example, studies have reported that maternal depression
opportunities for children and the promotion of a compre-           is associated with nonresponsive child-feeding behaviors
hensive approach for addressing the whole child. In re-             (20), inadequate and excess dietary intakes (13, 21), and
source-constrained contexts, integrated services may be an          the risk of child under- and overnutrition (22–24).
effective strategy for increasing the number of young                   Furthermore, strategies to promote nutritional well-being
children and families who are exposed to information                and development have incorporated interventions to support
and resources that support healthy child growth and de-             the mental well-being of mothers. In Pakistan, the Thinking
velopment. The colocation of services and use of the same           Healthy program adapted principles of cognitive-behavioral
delivery agent might help to address supply-side challenges         therapy for community health workers to use when counseling

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mothers to continue exclusive breastfeeding. The evaluation         varying nutrition and development messages might be best
reported a 60% reduced risk of cessation of exclusive breast-       aligned and delivered. These messages and delivery strategies
feeding in the first 6 mo of an infant’s life (25). In another      have to be reflected in common curricula, training materials,
program, interventions to support maternal well-being               supervision, behavioral change techniques, and delivery
were incorporated into a parenting program in Uganda. Par-          practices.
ents in the intervention group had significantly lower mater-
nal depressive symptoms than parents in the control group,          Lessons Learned for Successful Implementation of
and the children of parents in the intervention group had           Child Nutrition and Development Interventions
significantly higher cognitive development scores compared          Best practice in nutrition interventions. Appropriate de-
with children of parents in the control group (26).                 livery techniques and platforms are critical to the success of
    A concern surrounding the integration of nutrition and          nutrition interventions. Best practices for child nutrition inter-
ECD intervention is whether the number of messages be-              ventions include the provision of evidence-based nutrition-
comes ineffective or burdensome for health workers and for          speciﬁc interventions that address the immediate causes of
families (12, 27). By strengthening common caregiving capac-        under- or overnutrition for infant and young children (28),
ities combined with knowledge about appropriate nutrition           social and behavior change communication (SBCC) strategies
and development, integrated messages become potentially             (29–31), and nutrition-sensitive interventions that draw on
more manageable—neither burdening the health worker nor             complementary sectors such as agriculture, social safety nets,
the family. Example messages might include “while breast-           early child development, and schooling to affect the underly-
feeding your child, you may use the opportunity to sing to          ing determinants of poor nutrition, including limited access to
your child,” “while feeding your child talk responsively by en-     healthy foods and lack of adequate care (32).
gaging your child in discussions about the food she is eating,”         The recent Lancet series on maternal and child nutrition re-
or “when managing your child’s behavior, avoid strategies that      ported that a substantial reduction in the burden of undernu-
include food restriction or rewards.”                               trition could be achieved if low-income populations had access
    There are clear synergies in implementing care for early        to 10 evidence-based nutrition-speciﬁc interventions (28). The
child nutrition and development together that include leverag-      interventions target maternal nutrition during pregnancy
ing limited supply-side resources, responding to family de-         (multiple micronutrients, use of iodized salt, calcium intake,
mand for the provision of holistic care, and leveraging             and balanced energy protein supplementation), infant and
common caregiving competencies to support early child nu-           young child nutrition [promotion of optimal infant and young
trition and development outcomes. Although addressing lim-          child-feeding practices, food, and micronutrient supplementa-
ited supply-side resources may be especially advantageous in        tion (zinc and vitamin A)], and the management of acute
low-income contexts, the provision of integrated care and           malnutrition (28). Evidence-based prevention of childhood
common caregiving competencies may also be advantageous             overweight/obesity demonstrates that interventions should tar-
in middle- and high-income contexts in which issues of over-        get children early in life and should focus on improving dietary
nutrition (and early care/feeding practices related to overnutri-   quality, care/feeding practices, and physical activity (33, 34)
tion, such as feeding in the absence of hunger) are becoming            The promotion of healthy dietary patterns and feeding be-
increasingly problematic or already exist. However, in popula-      haviors and the success of these interventions require the im-
tions where poverty and food insecurity is high (resulting in       plementation of SBCC strategies that target behavior change
micronutrient deﬁciencies, stunting, and wasting), the points       among those who directly (parents) or indirectly (family
of integration may not only include common caregiving com-          and community members) inﬂuence child nutrition outcomes
petencies and knowledge on nutrition and ECD but may also           (31, 35). SBCC uses communication techniques to help
necessitate nutritional supplementation.                            change behaviors by a process of providing individuals with
    In summary, integrated approaches that include a focus on       relevant behavior change messages through an interactive
the child (stimulation and nutrition), the parent (maternal         and culturally appropriate mix of individuals, groups, and me-
depression), and the parent-child relationship (knowledge           dia contacts. A review of 6 SBCC complementary feeding in-
and responsive care skills for feeding, play, and communica-        terventions in low- and middle-income countries found that
tion) may well be more effective and sustainable than ap-           complementary feeding interventions that used 3–4 (out of
proaches that consider the child with little attention to the       6) behavior change techniques were most successful at im-
family care context. However, to optimize the effectiveness         proving child feeding, diet, and growth outcomes (29). Tech-
of integrated interventions, more research is necessary to un-      niques included the provision of 1) structured information
derstand both the combined effect and the effect of individual      and instruction; 2) performance activities (modeling healthy
interventions on a broad range of outcomes related to the de-       eating, practice, feedback, and positive reinforcement); 3)
livery of care for children’s nutrition and development (e.g.,      problem solving (identifying facilitators and barriers to behav-
reduction in maternal depressive symptoms and enhance-              ior change and solutions to reducing barriers); 4) social sup-
ment in responsive care and feeding behaviors) and how              port (peer, community, and authority support); 5) material
these variables might mediate young children’s nutrition and        (nutritional supplements); and 6) small media (songs, role
development outcomes. For example, research is needed to            plays, pictures, flash cards, and posters) (29). However, the de-
understand how theoretical frameworks of care that combine          tails and fidelity surrounding the implementation of SBCC

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techniques are often not reported in the nutrition intervention      and stress may lead to improved psychosocial well-being in
literature.                                                          the family and thus improved early child care practices (37).
    Finally, the success and sustainability of nutrition interven-
tions also require the implementation of large-scale nutrition-      Synergies for implementing integrated child nutrition
sensitive interventions developed to address the underlying          and development interventions. Common themes dictate
determinant of nutrition risk, extending from poor agricul-          best practices (or the practices that are associated with pos-
ture practices, poverty, and gender inequality to household          itive outcomes) for both nutrition and child development
factors such as mealtime organization and responsive caregiv-        interventions. These themes include common recipients,
ing and feeding behaviors (32, 3).                                   the inclusion of both intervention-speciﬁc (e.g., provision
                                                                     of nutrition supplements and low-cost play material) and
Best practice in child development interventions. Yousafzai          intervention-sensitive strategies (e.g., promotion of positive
et al. (12) reviewed 31 studies that delivered integrated early      maternal mental health and economic opportunities), and
childhood interventions and identiﬁed several key features as-       the provision theoretically based on SBCC techniques that
sociated with successful programs. Common features in-               promote positive caregiving behaviors (Table 1) (38–46).
cluded the use of a structured curriculum (e.g., organized               However, despite similarities across child nutrition and de-
by developmental stages), use of low-cost materials (e.g.,           velopment intervention, the best practices for implementing
homemade toys), and opportunities for parents to practice            integrated nutrition and development interventions are poorly
play (stimulation) activities with their young children and re-      understood. Recent reviews of efﬁcacy trials have failed to ﬁnd
ceive feedback on how the interaction might be strengthened          combined effects of integrated interventions (7), and at least 2
as well as opportunities for problem solving. Both individual        studies have reported dilution of independent growth (27) and
contacts through home visit programs and group contacts              development (39) effects when combining community-based,
through parenting groups were reviewed. Few studies, to              integrated interventions. The apparent lack of synergy and pos-
our knowledge, have explored dosage, but in general fort-            sible diluted effects may stem from a deviation from best prac-
nightly home visits lasting 30–60 min were reported in suc-          tices with an attempt to deliver too many behavior change
cessful interventions. Compliance was generally high in              messages, thereby weakening the community-based delivery
home visit programs but variable in parenting groups (lower          platform and the caregivers’ ability to absorb and practice all
compliance in longer-duration programs and a higher com-             the recommended messages.
pliance in shorter, more intense programs).
    Behavior change techniques used in early child develop-          Evidence for Beneﬁt-Cost Analysis of Integrated Child
ment interventions have also been reviewed. In a systematic          Nutrition and Development Interventions
review of 21 studies, Briscoe and Aboud (29) categorized the         If optimizing alignment of care for nutrition and child de-
types of SBCC techniques used in the interventions (using            velopment delivery practices is effective, we must also con-
the same list of techniques described previously), namely            sider whether it is feasible and beneﬁcial to programs with
structured information and instruction, performance activ-           respect to cost. Evidence for the beneﬁt-cost (BC) of inte-
ities, problem solving, social support, and small media; sim-        grated nutrition and child development programs is cur-
ilar to the ﬁnding for the complementary feeding studies,            rently limited (46–49).
they reported that the greater the number of SBCC applied                BC analyses allow for the assessment of different alterna-
the more effective the intervention was at improving young           tives of investments across different types of interventions or
children’s cognitive development (r = 0.44, P < 0.05). Indi-         multiple outcomes. They provide policymakers with the
vidually, the 3 techniques with the strongest correlation to         necessary information to quantify the economic returns to
children’s cognitive outcomes were the use of small media            their policies. Integrated nutrition and child development
(r = 0.51, P < 0.05), performance-based techniques (r = 0.34,        interventions could have an array of impacts, including im-
P < 0.12), and problem solving (r = 0.34, P < 0.12); however,        provements in nutritional status, cognitive development, ac-
the numbers of studies that reported these techniques for cor-       ademic achievement, labor market outcomes, and crime
relation analyses was very small (8).                                reduction. To calculate BC, the costs of service providers (in-
    Finally, similar to nutrition-sensitive approaches, sup-         cluding wages and training), material cost, and rental price
porting the broader capacity of the family to provide optimal        of space and utilities need to be measured. Private costs,
care for their young children is likely to beneﬁt early child        such as time and transportation incurred by mothers, are
development. For example, conditional cash transfer pro-             difﬁcult to measure because data are not always available.
grams, with conditions linked to attendance at well-child            Alderman et al. (50) presented methodology on how to mea-
visits or enrollment in preschool centers, have been shown           sure BC ratios of integrated programs, including issues such
to beneﬁt children’s growth and development through 2 po-            as using comparable units of measurement, avoiding double
tential pathways (36). First, families may invest in better nu-      counting, considering dynamic effects, accounting for pri-
trition for their young children and in learning/play                vate and social returns, and the fact that beneﬁts might
materials. For example, mothers who received a noncondi-             not constantly depend on, for instance, the age of the child.
tional cash transfer in Ecuador were likely to purchase a            Figure 1 shows a summary of the current status of evidence
toy for their young child. Second, reduced financial pressure        for BC ratios of integrated child nutrition and development

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TABLE 1      Similarities and differences in best practices across nutrition and ECD interventions1
                                                      Best practice in nutrition                                   Best practice in ECD
Recipients                              Adolescent females, women of reproductive age,             Caregivers, infants, and preschool-aged children
                                          pregnant women, neonates, and infants and                  through school entry (3)
                                          young children (28)
Intervention-specific strategies2       Provision of health care, nutrition education, and         Parenting education and support on a range of topics
                                          nutrition supplements                                      (e.g., importance of play and communication,
                                                                                                     positive discipline, practices, school readiness,
                                                                                                     providing support to mothers and fathers) and
                                                                                                     provision of play material and books (homemade,
                                                                                                     low-cost, or via book and toy libraries)
Intervention-sensitive strategies3      Agriculture (including biofortiﬁcation and home-           Social safety nets (including conditional and uncon-
                                           gardening) (32); social safety nets (including            ditional cash transfers (36, 37); nutrition (education,
                                           conditional and unconditional cash transfers,             including responsive feeding, and supplements)
                                           school feeding programs, household food                   (38, 39)
                                           distributions, and emergency assistance programs)
                                           (32); ECD (13, 38); schooling (32)
SBCC techniques                         Information and instruction: communicating infor-          Information and instruction: communicating infor-
                                           mation and verbal instruction about responsive             mation and verbal instruction about what
                                           feeding and optimal feeding practices (type, fre-          caregivers should do with their children
                                           quency, and preparation of infant foods) (40–45)           and why (8)
                                        Performance activities: modeling, practicing, and          Performance activities: demonstrating and practicing
                                           providing feedback for responsive feeding (40);            with feedback about how to talk and play with
                                           modeling optimal feeding practices (amount,                children (8, 12)
                                           frequency, and preparation of infant foods) (41–45)
                                        Problem solving: identifying barriers and solutions to     Problem solving: addressing maternal depression,
                                           support responsive feeding and optimal feeding            need for family support, lack of time, lack of
                                           practices (40, 41)                                        resources, and not knowing how to talk to infants
                                                                                                     (8, 12)
                                        Social support: encouraging peer (40), community           Social support: encouraging family support during
                                          (41), and authority (44) support, and support for          intervention home visits and facilitating peer
                                          responsive feeding and optimal feeding practices           groups (8, 12)
                                          (type and amount of infant foods)
                                        Material: provision of nutritional supplements (38, 39)    Material: play material (e.g., homemade, low-cost,
                                                                                                     or via toy and book libraries) (8, 12)
                                        Small media: illustrating responsive feeding and           Small media: illustrating stimulation practices via
                                          optimal feeding practices (amount, frequency,              posters, video, and discussion (8, 12)
                                          and preparation of infant foods) via pictures,
                                          flipcharts, and posters (8, 13, 38)
1
  ECD, early child development; SBCC, social and behavior change communication.
2
  Interventions that address the immediate causes of poor outcomes.
3
  Interventions that address the underlying causes of poor outcomes.



interventions across 4 different studies (conducted in Nicaragua,                      Beyond the synergies in impacts, the integration of nutri-
Colombia, Bolivia, and Jamaica). All studies tended to have                        tion and ECD might lead to cost savings from joint implemen-
large sample sizes, ranging from 600 (49) to >10,000 (47).                         tation. However, the evidence base is too limited to reach
All programs had components of nutrition or health and                             clear conclusions. Still, there are positive examples from Ja-
child development combined, so it is not possible to tease                         maica, even when considering the attenuation of beneﬁts at
out their independent effects. The programs in Nicaragua,                          scale. One of the potential beneﬁts of integrating ECD ser-
Colombia, and Bolivia included a center-based component                            vices into the health sector is the potential for lower costs
of either full-day care or preschool, some of which were in                        as a result of synchronized training, monitoring and supervi-
the caregiver’s home (46–48).                                                      sion, and the use of the same personnel. However, whether



                                                                                                        FIGURE 1 Benefit-cost ratios for
                                                                                                        integrated programs to improve child
                                                                                                        development outcomes. The benefit-cost
                                                                                                        ratios are calculated by dividing the total
                                                                                                        discounted present value of the benefits of
                                                                                                        a program over the life course of an
                                                                                                        individual by the total discounted costs
                                                                                                        over the total duration of the program.
                                                                                                        Both are expressed in monetary terms.


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there will be a negative or positive impact on the existing per-                  12. Yousafzai AK, Aboud F. Review of implementation processes for inte-
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and 3) explore how varying implementation processes influ-                            disorders in women in low- and lower-middle-income countries: a sys-
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